         Case 1:16-cv-01534-JEB Document 395 Filed 01/17/19 Page 1 of 6




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE,
                                                       Case No. 1:16-cv-1534-JEB
                                                       (and Consolidated Case Nos. 16-cv-1796
                          Plaintiff,
                                                       and 17-cv-267)
and
                                                       OPPOSITION TO MOTION TO STAY
CHEYENNE RIVER SIOUX TRIBE,

                          Plaintiff-Intervenor,
        v.

U.S. ARMY CORPS OF ENGINEERS,

                          Defendant-Cross
                          Defendant,

and

DAKOTA ACCESS, LLC,

                          Defendant-Intervenor-
                          Cross Claimant.


        Plaintiffs Standing Rock Sioux Tribe, Cheyenne River Sioux Tribe, Oglala Sioux Tribe,

and Yankton Sioux Tribe (“Tribes”) respectfully submit this response to the motion to stay filed

by Defendant U.S. Army Corps of Engineers (“Corps”). The motion should be denied because the

delay is prejudicial to the Tribes and because there is no practical need to issue a stay at this time.

The next pending deadline in this case is the filing of the administrative record, which has been

scheduled for January 31, 2019 since November 15, 2018. The Corps has not been affected by



(No. 1:16-cv-1534-JEB)   -1
         Case 1:16-cv-01534-JEB Document 395 Filed 01/17/19 Page 2 of 6



the lapse in appropriations and is primarily responsible for preparing the administrative record.

Accordingly, the Corps should be directed to file the record by the deadline so that the Tribes can

begin their review.

        This case has already suffered from significant delay at the hands of the Corps. In June of

2017, this Court found that the Corps’ environmental analysis had violated NEPA, and remanded

it for further consideration. Standing Rock Sioux Tribe v. U.S. Army Corps of Engineers, 255 F.

Supp. 3d 101 (D.D.C. 2017). However, it was not until August 31, 2018, over a year later, that

the Corps made a decision affirming its prior permit decisions. ECF 362. It did not share its

remand analysis with the Tribes until mid-October. It subsequently requested six additional

months in which to prepare the administrative record. ECF 373.

        The Tribes have filed supplemental complaints challenging the Corps’ remand decision.

The Tribes eagerly await the submittal of the administrative record so that this case can proceed,

and have arranged for counsel, technical experts, and Tribal staff to commence work reviewing

the record starting January 31. In the meantime, the Tribes continue to be exposed to the risks of

a disaster at Lake Oahe that the Corps never adequately analyzed in the first place. See Standing

Rock Sioux Tribe v. U.S. Army Corps of Engineers, 282 F. Supp. 3d 91, 107 (D.D.C. 2017) (“There

is no doubt that allowing oil to flow through the pipeline during remand risks the potentially

disruptive effect about which the Tribes are most concerned—a spill under Lake Oahe . . .. What

is clear is that accidents and spills, however they may occur, have the potential to wreak havoc on

nearby communities and ecosystems.”).

        Now the Corps seeks to delay the schedule even further due to the partial government

shutdown. This Court should not grant the request. Under the Anti-Deficiency Act, “[a]n officer

or employee of the United States Government or of the District of Columbia government may not




(No. 1:16-cv-1534-JEB)   -2
         Case 1:16-cv-01534-JEB Document 395 Filed 01/17/19 Page 3 of 6



accept voluntary services for either government or employ personal services exceeding that

authorized by law except for emergencies involving the safety of human life or the protection of

property.” 31 U.S.C. § 1342 (emphasis added). Citing this language, the D.C. Circuit last week

denied a motion to stay a scheduled oral argument on the basis of the government shutdown.

Kornitzky Group, LLC v. Elwell, 2019 WL 138710, at *1 (D.C. Cir., Jan. 9, 2019). A majority of

the court reasoned that a directive by a federal court directing litigation to continue effectively

constitutes the “authorization by law” required by the statute. The Court also cited the Department

of Justice’s 2019 “contingency plan,” which authorizes DOJ attorneys to continue working on a

case if a court so directs. “If a court denies the request and adheres to its existing schedule, ‘the

Government will comply with the court’s order, which would constitute express legal authorization

for the activity to continue’ within the meaning of § 1342.” Id. (Srinivasan, Circuit Judge, and

Edwards, Senior Circuit Judge, concurring in the denial of the motion). Finally, the majority cited

extensive precedent directing that civil litigation involving U.S. government agencies proceed

despite lapses in appropriations. Id. at *2.

        Kornitzky appears to have precedential effect in this Circuit. People for the Ethical

Treatment of Animals v. United States Department of Agriculture, 2019 WL 180582, at *1 (D.C.

Cir., Jan. 14, 2019) (Katsas, Circuit Judge, concurring); Air Transport Association of America,

Inc. v. Federal Aviation Administration, 2019 WL 190254, at *1 (D.C. Cir., Jan. 15, 2019)

(denying motion to stay briefing schedule); see also United States v. CVS Health Corp, Civ. No.

18-2340-RJL (Jan. 11, 2019) (denying motion to stay because “the Governments internal, political

squabble over funding” is not a basis for delay).

        This case presents a particularly easy application of this standard, because as a practical

matter there is no need for a stay at this time. The key pending deadline is the filing of the




(No. 1:16-cv-1534-JEB)   -3
         Case 1:16-cv-01534-JEB Document 395 Filed 01/17/19 Page 4 of 6



administrative record on January 31. See Dec. 12, 2018 Minute Order. As the Corps concedes in

its filing, the Corps itself is fully funded and not implicated by the shutdown, and the duty of

compiling the administrative record falls primarily on the Corps. The only obligation of the

Department of Justice attorneys is to review the Corps’ record and file it with the Court. This is a

modest burden at most. See, e.g., Waterkeeper Alliance v. Wheeler, Civ. No. 18-2230-JDB (Jan.

14, 2019) (denying motion to stay due to shutdown) (“defendants need not expend substantial

government resources to confer with plaintiffs on a briefing schedule and to compile an index”).

Additionally, the Corps is represented by its own counsel, Melanie Casner, who appears on all

pleadings and has participated in many if not all of the hearings before this Court, and hence

presumably can assist in finalizing and filing the record.

        Alternatively, the Court can direct the Corps to provide the Plaintiffs with a preliminary

administrative record subject to the existing protective order and without prejudice to the Corps to

later invoke any privilege once Department of Justice funding has been restored. This would allow

the Plaintiffs to commence their review of the record and begin preparing summary judgment

briefs on a schedule to be determined, as provided for under the existing schedule.

        Accordingly, the Tribes respectfully request that the Court either: a) deny the motion for

stay in full, and direct the Corps to comply with the existing schedule; or, alternatively, b) deny

the motion in part, and direct the Corps to provide the Tribes with a preliminary administrative

record subject to the existing protective order and without prejudice to the Corps to later invoke

any privilege.




(No. 1:16-cv-1534-JEB)   -4
         Case 1:16-cv-01534-JEB Document 395 Filed 01/17/19 Page 5 of 6



Dated: January 17, 2019                       Respectfully submitted,


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(No. 1:16-cv-1534-JEB)   -5
         Case 1:16-cv-01534-JEB Document 395 Filed 01/17/19 Page 6 of 6



                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 17, 2019, I electronically filed the foregoing Opposition to

Motion to Stay with the Clerk of the Court using the CM/ECF system, which will send notification

of this filing to the attorneys of record and all registered participants.



                                                /s/ Nicole Ducheneaux




(No. 1:16-cv-1534-JEB)   -6
